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                Exhibit A
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      45PHTERC
 1    UNITED STATES DISTRICT COURT
 1    SOUTHERN DISTRICT OF NEW YORK
 2    --------------------------------------x
 2
 3    IN RE:
 4    Terrorist Attacks on September 11, 2001         03 MD 1570 (RCC)
 5
 6    --------------------------------------x
 7
 8
 8                                              New York, N.Y.
 9                                              May 25, 2004
 9                                              2:20 p.m.
10
10    Before:
11
11                       HON. RICHARD CONWAY CASEY
12
12                                              District Judge
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      45PHTERC
 1                              APPEARANCES
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 1    today. That is why I rose to speak to the court and represent
 2    on the record that for good or bad, well or ill, Mr. Ambush
 3    represented to me, to a Mr. Richard Haley, to a Mr. Jack Corr
 4    on a call Friday at 4:00 that he did not know about this
 5    hearing.
 6             We instructed him to get here. He indicated he could
 7    not. He would be in Canada. We indicated to him that he
 8    should do whatever necessary to have representation, that we
 9    could not represent him.
10             I represent again today only to the court that
11    message. That is all I said and that is all I am saying.
12             THE COURT: Excuse me just one minute, sir.
13             Mr. Brantley, did Mr. Ambush in any way communicate
14    with the court that he would not be here today either by
15    telephone call, letter, fax, e-mail, any form of communication?
16             THE DEPUTY CLERK: No, your Honor.
17             THE COURT: We received nothing. All right.
18             Thank you, Mr. Mellon --
19             MR. MELLON: Thank you.
20             THE COURT: -- for sending us the message.
21             Is there anyone else that wishes to be heard on this
22    question?
23             The next item on my list is perhaps not on yours, but
24    I have received a letter, I believe from Baker Botts,
25    concerning conduct of lawyers. Little did I know how
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 1    appropriate the subject would be at this point in my personal
 2    agenda for this meeting.
 3             I have reviewed very carefully the letters from Baker
 4    Botts, Mr. Motley. Let me just set out my personal feelings
 5    and the position of the court.
 6             I am not going to take any action with regard to
 7    Mr. Motley at this time. I am telling you that I take a very
 8    dim view of lawyers who try their cases in the media. I
 9    believe I have been privileged to see some of the greatest
10    trial lawyers this country has produced and none of the really
11    good ones try their case in the media. They have the ability,
12    the talent, professionalism, and the ethics to try their case
13    here in the courtroom.
14             I expect everyone, and I have read all the papers,
15    plaintiffs and defendants, any activity in this area I expect
16    to stop as of this moment. If there is any further activity, I
17    will entertain any application. Be the professionals that you
18    are. Don't sully your profession before this court.
19             I expect everything from this moment forward to be
20    done in that professional manner. I mean this very sincerely
21    and I hope you will take it in that way. If you choose to go
22    in a different direction after this caution, I assure you I
23    will deal with it. I hope nothing further need be said on this
24    subject. There is no requirement for anyone to respond. I
25    have tried to choose my words very carefully. And unless
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 1    somebody cannot comprehend my simple words, that is the end of
 2    the subject unless cause requires us to revisit the subject,
 3    and I hope that that will never occur.
 4             I am now going to ask you to direct your attention to
 5    the issues raised in proposed case management order No. 2. I
 6    have identified certain issues set forth in the proposal that I
 7    would like the parties to address. On each issue I will hear
 8    first from the plaintiff and then from the defendant.
 9             First, in paragraph 12, the parties set forth their
10    separate position on setting a time limit for the service of
11    foreign defendants. I would ask, unless someone feels
12    compelled to be heard, that I would hope that plaintiffs would
13    select one or another to address this issue and I would hope in
14    the future that that policy will be followed in all of our
15    conferences. I don't know that the defendants have formed a
16    committee to be united enough to address the other side, but on
17    behalf of the plaintiffs, who would address the question?
18             MR. MOTLEY: Your Honor, we met prior to the hearing,
19    and while lots of people worked on this case management order
20    No. 2, we are asking Ms. Bierstein to present the plaintiffs'
21    position.
22             THE COURT: Ms. Bierstein. Am I pronouncing your name
23    correctly, by the way?
24             MS. BIERSTEIN: It is Bierstein.
25             THE COURT: With a B?
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